        Case 2:15-cr-00029-TLN Document 35 Filed 07/06/15 Page 1 of 2


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 6   Attorneys for LeJohn Windom, Sr.
 7

 8                                  UNITED STATES DISTRICT COURT
 9                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES,                                  No. 2:15-cr-029 TLN
12                     Plaintiff,
13          v.                                       STIPULATION AND ORDER
14   LEJOHN WINDOM, SR., et. al.,
15                     Defendants.
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            IT IS HEREBY STIPULATED AND AGREED between the defendants, LeJohn
18
     Windom, Sr., Tracy Hartway, and Audrey Johnson by and through their undersigned defense
19
     counsel, and the United States of America, by and through its counsel, Assistant U.S. Attorney
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     Matthew Morris, that the status conference presently set for July 9, 2015 at 9:30 a.m., should be
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     continued to August 6, 2015 at 9:30 a.m., and that time under the Speedy Trial Act should be
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     excluded from July 9, 2015 through August 6, 2015.
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            The reason for the continuance is that Mr. Locke was only recently appointed, the defense
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     needs additional time to conduct pretrial investigation, and to complete plea negotiations. The
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     exclusion of time is also necessary to ensure continuity of counsel. Accordingly, the time
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     between July 9, 2015 and August 6, 2015 should be excluded from the Speedy Trial calculation
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     pursuant to Title 18, States Code, Section 3161(h)(7)(B)(iv) and Local Code T-4 for defense
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        Case 2:15-cr-00029-TLN Document 35 Filed 07/06/15 Page 2 of 2


 1   preparation. The parties stipulate that the ends of justice served by granting this continuance
 2   outweigh the best interests of the public and the defendants in a speedy trial. 18 U.S.C.
 3   §3161(h)(7)(A). Mr. Morris, Mr. Beevers and Mr. Hansen have authorized Mr. Locke to sign this
 4   pleading for them.
 5   DATED: July 6, 2015                                   /s/ Bruce Locke
                                                           BRUCE LOCKE
 6                                                         Attorney for LeJohn Windom, Sr.
 7
     DATED: July 6, 2015                                   /s/ Bruce Locke
 8                                                         For DOUGLAS BEEVERS
                                                           Attorney for Audrey Johnson
 9

10   DATED: July 6, 2015                                   /s/ Bruce Locke
                                                           For MICHAEL HANSEN
11                                                         Attorney for Tracy Hartway
12
     DATED: July 6, 2015                                   /s/ Bruce Locke
13                                                         For MATTHEW MORRIS
                                                           Attorney for the United States
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            The Court finds, for the reasons stated above, that the ends of justice served by granting
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     this continuance outweigh the best interests of the public and the defendants in a speedy trial, and,
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     therefore.
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            IT IS SO ORDERED.
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     DATED: July 6, 2015
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                                                               Troy L. Nunley
22                                                             United States District Judge

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